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 1                                                                The Honorable Barbara J. Rothstein

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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   NOSKENDA INC., individually and on behalf             Case No. 2:20-cv-00854-BJR
     of all others similarly situated,
10                                                         ORDER GRANTING
                           Plaintiff,                      STIPULATED MOTION
11
           v.
12
     VALLEY FORGE INSURANCE COMPANY,
13
                           Defendant.
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16         Having reviewed the parties’ Stipulated Motion to Stay, it is hereby ORDERED as follows:

17         1.       The Motion is GRANTED.
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           2.       The deadline for Defendant to respond to the Complaint is vacated and stayed
19
                    pending a ruling on Plaintiff’s forthcoming motion to consolidate under Fed. R.
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                    Civ. P. 42 and LCR 42.
21
           3.       Upon resolving Plaintiff’s Rule 42 motion, the Court will schedule a status
22

23                  conference to set case deadlines and discuss administration of this matter.

24         Dated this 23rd day of September, 2020.
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26                                                     Hon. Judge Barbara J. Rothstein
